              Case 3:23-cv-20864-ZNQ Document 1-3 Filed 10/03/23 Page 1 of 1 PageID: 48
                                           UNITED STATES BANKRUPTCY COURT
                                                   District of New Jersey

 In re:                                                           Chapter:                             ________________
                                                                                                              11
   Robert J. Hemsing                                              Case Number:                        ________________
                                                                                                        23-10037-CMG
                                                                  Civil Number:                       ________________
                                                                  Adversary Number:                   ________________
                                                                  Bankruptcy Judge:                    ________________
                                                                                                       Christine M. Gravelle

                                         TRANSMITTAL OF DOCUMENT(S) TO:
                                  DISTRICT COURT  CIRCUIT COURT OF APPEALS

The following items have been filed with our office, and are being transmitted:
 Notice of Appeal                   Order being Appealed                 Designation of Record on Appeal
 Statement of Issues                Transcript                           Transcript Ordered On: _________________________
 Motion for Leave to Appeal  Certification of Failure to File Designation                   Motion to Withdraw the Reference
 Other ____________________________________________________________________________________________

If a Notice of Appeal is being transmitted:
The Notice of Appeal was filed in our office on ________________________________.
                                                October 3, 2023                   The parties to the appeal are:
                                                                                               Anthony Sodono, III, Assignee for the Benefit of
Appellant(s):    ________________________________
                 Robert J. Hemsing                                        Appellee(s):       ________________________________
                                                                                                  Creditors of Dooley Electric Company

Attorney:        David L. Stevens
                 ________________________________                         Attorney:          Sari Blair Placona
                                                                                             ________________________________
Address:         ________________________________
                 1599 Hamburg Turnpike                                    Address:           75 Livingston Avenue Suite 201
                                                                                             ________________________________
                 ________________________________
                 Wayne, NJ 07470                                                             Roseland, NJ 07068
                                                                                             ________________________________

Title of Order Appealed:           ________________________________________________________________________
                                Order Granting Motion to Extend Time To Object to Discharge for thirty (30) days up from entry of this Order
Date Entered On Docket:             ________________________________________________________________________
                                September 20, 2023

 An appeal has not previously been filed in this case.
 The following list contains information regarding all appeals previously filed in this case:

           District Court Case Number                  District Court Judge Assigned                     Date of Transmission of
                                                                                                         Record to District Court




 Court Clerk: Please complete the information below and return a copy of this form to ___________________________________within 3 days.

 Your Court’s Case Number:                                                  Judge assigned:
 By:                                                                        Date:



                                                                                                                                           rev. 8/28/17
